                       UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF NORTH CAROLINA
                             EASTERN DIVISION


BELINDA LEWIS                       :
                                    :
          Plaintiff,                :
                                    :                Case No. 4:11-cv-00047-BO
      v.                            :
                                    :
PENTAGROUP FINANCIAL LLC            :
                                    :
          Defendant.                :
                                    :
___________________________________/

                          NOTICE OF VOLUNTARY DISMISSAL

BELINDA LEWIS (Plaintiff), by the undersigned counsel, and pursuant to FRCP 41(a)(1)(A)

(Dismissal of Actions-Voluntary Dismissal By Plaintiff Without Court Order) voluntarily dismisses,

with prejudice, PENTAGROUP FINANCIAL, LLC (Defendant), in this case.

               Both sides to bear their own costs and expenses.



Date: January 16, 2012                       RESPECTFULLY SUBMITTED,

                                     By: __/s/ Christopher D. Lane____
                                           Christopher D. Lane, Esq.
                                           NC Bar ID # 20302
                                           3802-A Clemmons Road
                                           Clemmons, NC 27012
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                                CERTIFICATE OF SERVICE

       I hereby certify that on January 16, 2012, I electronically filed the foregoing Notice of

Voluntary Dismissal by using the CM/ECF System. A copy of said Notice was mailed to

Andrew J. Marancik, Attorney for Defendant, at the mailing address listed below via the USPS.

       Andrew J. Marancik, Esq.
       General Counsel
       Pentagroup Financial, LLC
       5959 Corporate Drive, Suite 1400
       Houston, TX 77036


                                                             s/ Christopher D. Lane
                                                             Christopher D. Lane
                                                             Attorney for Plaintiff




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